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SOUTHERN DISTRICT OF NEW YORK
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STATE OF NEW YORK, et al.,
                       Plaintiff,                                        19 CIVIL 4676 (PAE)
                                                                         19 CIVIL 5433 (PAE)
                     -against-                                           19 CIVIL 5435 (PAE)

UNITED STATES DEPARTMENT OF HEALTH                                           JUDGMENT
AND HUMAN SERVICES, et al.,
                     Defendant.
-------------------------------------------------------------X

            It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order dated November 6, 2019, and consistent with today's accompanying

Opinion and Order, the Court hereby issues the followi~g orders:

•   in 19 Civ. 4676:

            0
                   The Court grants Plaintiffs' motion for summary judgment, Dkts. 179 and

                   183, and grants, nunc pro tune, the motion by Scholars of the LGBT Population for

                   leave to file an amicus brief, Dkt. 195;

            0
                   The Court denies HHS's motion to dismiss or, in the alternative, for summary

                   judgment, Dkt. 147, and the Defendant-Intervenors' motion for summary judgment,

                  Dkt. 149; and

        0         The Court denies as moot plaintiffs' motion for preliminary relief. Dkt. 41.

•   in 19 Civ. 5433:

        0
                  The Court grants Plaintiffs' motion for summary judgment. Dkt. 74;

        0
                  The Court denies HHS 's motion to dismiss or, in the alternative, for summary

                  judgment, Dkt. 61; and

        0         The Court denies as moot Plaintiffs' motion for preliminary relief, Dkt. 19;
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             the Defendant-Intervenors motion for leave to file an over-length amicus brief, Dkt.

             38; and Susan Feigin Harris's subsequently granted motion to appear pro hac vice,

             Dkt. 90.

•   in 19 Civ. 5435:

       0
             The Court grants Plaintiffs' motion for summary judgment. Dkt. 81;

       0
             The Court denies HHS's motion to dismiss or, in the alternative, for summary

             judgment, Dkt. 69; and

       0
             The Court denies as moot Plaintiffs' motion for preliminary relief, Dkt. 25;

             Defendant-Intervenors motion for leave to file an over-length amicus brief, Dkt.

             43; and Elizabeth Olmsted Gill's subsequently granted motion to appear pro hac

            vice, Dkt. 52; accordingly, these cases are closed.


Dated: New York, New York
       November 6, 2019




                                                       BY:




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